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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        )
                                                )
        v.                                      )       Criminal No. 17-10329-DJC
                                                )
JAMIE L. MELO,                                  )
                                                )
        Defendant.                              )

                                 UNITED STATES’ WITNESS LIST

        Pursuant to Local Rule 117.1(a)(8)(A), the Government submits the following list of

witnesses that it intends to call during its case-in-chief.

        1. Special Agent (“SA”) Michael Ryan, Department of Homeland Security (“DHS”),
           Homeland Security Investigations, Office of Inspector General, Boston,
           Massachusetts;

        2. SA Alison Pauly, Federal Bureau of Investigation (“FBI”), formerly in Chelsea,
           MA, now in Washington, D.C.

        3. SA Robert Elias, Internal Revenue Service (“IRS”), Criminal Investigative Division
           (“CID”), Pittsburg, PA;

        4. Inspector William Foley, DHS, Customs and Border Protection (“CBP”), Logan
           International Airport, Boston, MA;

        5. William J. Hall, Manager - Access Control Systems, Massachusetts Port Authority,
           Logan International Airport, Boston, MA;

        6. Duarte N. Carreiro, General Manager, SATA International, Fall River, MA;

        7. Joseph G. Raposo, Fall River, MA;

        8. Maria L. Raposo, Fall River, MA;

        9. Arnaldo S. Oliveira, North Dartmouth, MA;

        10. Antonio “Tony” M. Soares, South Dartmouth, MA;

        11. Jenna Lamy, Forensic Auditor, U.S. Attorney’s Office, Boston, MA:

        12. Jamie M. Salgado, Jr., Deputy, Bristol County Sheriff’s Office, North Dartmouth, MA;
            and

        13. Thomas Hodgson, Sheriff, Bristol County Sheriff’s Office, North Dartmouth, MA.



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       The Government reserves the right to call the foregoing witnesses out of order, to

elect to not call certain witnesses, and to supplement and amend this list upon reasonable

notice to the Defendant and the Court.


                                                       Respectfully submitted,

                                                       ANDREW E. LELLING
                                                       United States Attorney

                                               By:     /s/ Neil Gallagher
                                                       Neil J. Gallagher, Jr.
                                                       Justin O’Connell
                                                       Assistant U.S. Attorneys


Date Submitted: June 21, 2018



                                         Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                               /s/ Neil J. Gallagher, Jr.
                                               Neil J. Gallagher, Jr.




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